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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ADRIAN HEILBUT, JESSEE BRODKIN,
 ENEA MILIORIS,                                           Civil Action No. 1:24-cv-05948-JLR

          Plaintiffs,                                     Judge Jennifer L. Rochon

 v.                                                       MOTION FOR ADMISSION PRO HAC
                                                          VICE OF J. ERIK CONNOLLY
 CASSAVA SCIENCES, INC., REMI
 BARBIER and LINDSAY BURNS,

          Defendants.



         Pursuant to Rule 1.3 of the Local Rules of the United States Court for the Southern District

of New York, J. Erik Connolly hereby moves this Court for an Order for admission to practice pro

hac vice to appear as counsel for Defendants Cassava Sciences, Inc., Remi Barbier and Lindsay

Burns in the above-captioned action.

         I am a member in good standing of the Bars of Illinois and New York, and there are no

pending disciplinary proceedings against me in any state or federal court. I have never been

convicted of a felony, censured, suspended, disbarred, or denied admission or readmission by any

court.

         Attached as Exhibit “A” are the Certificates of Good Standing issued by the Supreme

Court of Illinois and the Supreme Court of New York.

         Attached as “Exhibit “B” is my Affidavit pursuant to Local Rule 1.3.

         Attached as Exhibit “C” is the text of a proposed Order.

         WHEREFORE, for the reasons stated above, I respectfully move the Court to grant this

motion.
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Dated: December 3, 2024            Respectfully submitted,

                                   BENESCH, FRIEDLANDER,                 COPLAN
                                    & ARONOFF LLP

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